        Case 24-12343-pmm
 Fill in this information to identify the case:
                                                    Doc          Filed 09/24/24 Entered 09/24/24 10:29:19                         Desc Main
                                                                 Document      Page 1 of 3
% 6XSSOHPHQW    (post publication draft)
 'HEWRU           Robert Amen McKelvy
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                                               Eastern District of Pennsylvania
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2IILFLDO)RUP6
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                     12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. 6HH%DQNUXSWF\5XOH
                               UMB Bank, National Association, not in its individual capacity,
                               but solely as legal title trustee for LVS Title Trust XIII
 Name of creditor:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                        2
                                                                                                      Court claim no LINQRZQ BBBBBBBBBBBBBBBBBB

 Last 4 digits RIDQ\QXPEHU\RXXVHWR
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 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  1R
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 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                                    Dates incurred                                   Amount

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                     Plan Review
  2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                            7/15/2024
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                     Objection to Plan
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       Case 24-12343-pmm                             Doc           Filed 09/24/24 Entered 09/24/24 10:29:19                             Desc Main
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'HEWRU
              Robert Amen McKelvy
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                                                                                                                    24-12343-PMM
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 Part 2:    Sign Here


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  Check the appropriate box.

   ,DPWKHFUHGLWRU
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  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             /s/ Danielle Boyle-Ebersole
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                                                                                                      BBBBBBBBBBBBBBBBBBB
                  6LJQDWXUH



                  Danielle Boyle-Ebersole, Esquire                                                    Attorney
 3ULQW           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    7LWOH BBBBBBBBBBBBBBBBBBBBBBBBBBB
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 &RPSDQ\
                  Hladik, Onorato & Federman, LLP
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



 $GGUHVV
                  298 Wissahickon Avenue
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                   215          855 9521                                                              dboyle-ebersole@hoflawgroup.com
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2IILFLDO)RUP6                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 SDJH2
Case 24-12343-pmm            Doc     Filed 09/24/24 Entered 09/24/24 10:29:19                Desc Main
                                     Document      Page 3 of 3


                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                    Bankruptcy No. 24-12343-PMM
       Robert Amen McKlevy                                Chapter 13
              Debtor
UMB Bank, National Association, not in its
individual capacity, but solely as legal title trustee
for LVS Title Trust XIII
              Movant

         vs.
Robert Amen McKlevy,
             Debtor/Respondent

                                      CERTIFICATE OF SERVICE

   I, Danielle Boyle-Ebersole, Esquire, hereby certify that on 09/24/2024, I have served a copy of this
Notice and all attachments to the following by U.S. Mail, postage pre paid and/or via filing with the US
Bankruptcy Court’s CM ECF system.

  Michael A. Cibik, Esquire                           Robert Amen McKlevy
  Via ECF                                             1411 E. Cardeza Street
  Attorney for Debtor                                 Philadelphia, PA 19150
                                                      Via First Class
  Kenneth E. West, Esquire                            Debtor
  Via ECF
  Trustee

                                                     /s/Danielle Boyle-Ebersole
                                                     Danielle Boyle-Ebersole, Esquire
                                                     Attorney I.D. # 81747
                                                     Hladik, Onorato & Federman, LLP
                                                     298 Wissahickon Avenue
                                                     North Wales, PA 19454
                                                     Phone 215-855-9521/Fax 215-855-9121
                                                     dboyle-ebersole@hoflawgroup.com
